      Case 3:21-cv-00259-DCG-JES-JVB Document 642 Filed 11/17/22 Page 1 of 2




                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                         EL PASO DIVISION

LEAGUE OF UNITED LATIN AMERICAN §
CITIZENS, et al.,                        §
                                         §
       Plaintiffs,                       §
v.                                       §                      No. 3:21-CV-00259-DCG-JES-JVB
                                         §                                [Lead Case]
                                         §
GREG ABBOTT, in his official capacity as §
Governor of the State of Texas, et al.,  §
                                         §
       Defendants.                       §


UNITED STATES OF AMERICA,                                  §
                                                           §
            Plaintiff,                                     §
v.                                                         §          No. 3:21-CV-00299
                                                           §         [Consolidated Case]
                                                           §
STATE OF TEXAS, et al.,                                    §
                                                           §
            Defendants.                                    §

                                                      ORDER

           The Court granted the United States’ motion to enforce third-party subpoenas duces tecum

against Texas legislators, their staff, and a staff member of the Texas Legislative Council

(collectively, “the Legislators”) seeking both tangible and electronically stored information.

Dkt. 467. As part of that order, the Court directed the Legislators to produce certain documents

for in camera review so that the Court could determine whether they were shielded from discovery

by attorney-client privilege or the work product doctrine. Dkt. 467, at 28.

           The Court has concluded its in camera review. It finds that the documents are not

privileged or protected with the following exceptions 1:


1
    Documents are referred to by their control numbers.


                                                          1/2
   Case 3:21-cv-00259-DCG-JES-JVB Document 642 Filed 11/17/22 Page 2 of 2




   •   DOC_0351427 is privileged as to its first bullet point, which must be redacted.
   •   DOC_0351577 is privileged as to everything except the second sentence of Parker Berry’s
       email and the heading of the conversation; the document must be redacted except for those
       two elements.
   •   DOC_0351636 is privileged in its entirety and need not be produced in discovery.
   •   DOC_0351637 is privileged only as to its first bullet point, which must be redacted.
   •   DOC_0351651 is privileged as to the last two sentences of Adam Foltz’s message, the first
       sentence of Parker Berry’s email, and the second sentence of Tommie Cardin’s email; those
       must all be redacted.
   •   DOC_0351652 is privileged in its entirety and need not be produced in discovery.
   •   DOC_0351660 is privileged only as to the email from Tommie Cardin and the first bullet
       point Adam Foltz; both must be redacted.
   •   PDOC_004309 is privileged in its entirety and need not be produced in discovery.
   •   PDOC_004318 is privileged in its entirety and need not be produced in discovery.
   •   PDOC_004795 is privileged in its entirety and need not be produced in discovery.
   •   PDOC_004798 is privileged in its entirety and need not be produced in discovery.

       Accordingly, the Legislators are hereby ORDERED to produce all documents provided to

the Court for in camera review, subject to the exceptions above, within FOURTEEN (14) DAYS

of this Order.

       So ORDERED and SIGNED this 17th day of November 2022.




                                                ____________________________________
                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE

                                        And on behalf of:

 Jerry E. Smith                                             Jeffrey V. Brown
 United States Circuit Judge                   -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas



                                               2/2
